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                 Exhibit 47
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THE REPORT OF THE
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About the National Center for Transgender Equality
The National Center for Transgender Equality (NCTE) is the nation’s leading social justice policy advocacy
organization devoted to ending discrimination and violence against transgender people. NCTE was founded
in 2003 by transgender activists who recognized the urgent need for policy change to advance transgender
equality. NCTE now has an extensive record winning life-saving changes for transgender people. NCTE works
by educating the public and by influencing local, state, and federal policymakers to change policies and laws
to improve the lives of transgender people. By empowering transgender people and our allies, NCTE creates a
strong and clear voice for transgender equality in our nation’s capital and around the country.

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      The Report of the
2015 U.S. Transgender Survey

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                         December 2016
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                                      Income and Employment Status
                                      • The unemployment rate among respondents (15%) was three times higher than the
                                        unemployment rate in the U.S. population (5%), with Middle Eastern, American Indian,
                                        multiracial, Latino/a, and Black respondents experiencing higher rates of unemployment.

                                        Unemployment rate
                                        RACE/ETHNICITY (%)

                                                                  0%                  5%                 10%                   15%            20%           25%   30%   35%

                                                       Overall                                                                   15%
                                                                                           5%

                                                                                                                                                          23%
                                           American Indian                                                            12%

                                                                                                              10%
                                                         Asian                        4%

                                                                                                                                               20%
                                                          Black                                               10%


                                                      Latino/a                                                                                      21%
                                                                                                  7%

                                            Middle Eastern*                                                                                                               35%


                                                                                                                                                      22%
                                                   Multiracial                                           9%

                                                                                                                     12%
                                                         White                        4%

                                                   % in USTS (supplemental survey weight applied)                % in U.S. population (CPS)

                                           * U.S. population data for Middle Eastern people alone is unavailable in the CPS.




                                      • Nearly one-third (29%) were living in poverty, more than twice the rate in the U.S.
                                        population (12%).




                                      Employment and the Workplace
                                      • One in six (16%) respondents who have ever been employed—or 13% of all respondents
                                        in the sample—reported losing a job because of their gender identity or expression in
                                        their lifetime.
                                      • In the past year, 27% of those who held or applied for a job during that year—19% of all
                                        respondents—reported being fired, denied a promotion, or not being hired for a job
2015 U.S. TRANSGENDER SURVEY




                                        they applied for because of their gender identity or expression.
                                      • Fifteen percent (15%) of respondents who had a job in the past year were verbally
                                        harassed, physically attacked, and/or sexually assaulted at work because of their
                                        gender identity or expression.
                                      • Nearly one-quarter (23%) of those who had a job in the past year reported other
                                        forms of mistreatment based on their gender identity or expression during that year,




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                                      Sex Work and Other Underground
                                      Economy Work
                                      • Respondents reported high rates of experience in the underground economy, including
                                        sex work, drug sales, and other work that is currently criminalized. One in five (20%)
                                        have participated in the underground economy for income at some point in their lives—
                                        including 12% who have done sex work in exchange for income—and 9% did so in the past
                                        year, with higher rates among women of color.
                                      • Respondents who interacted with the police either while doing sex work or while the
                                        police mistakenly thought they were doing sex work reported high rates of police
                                        harassment, abuse, or mistreatment, with nearly nine out of ten (86%) reporting being
                                        harassed, attacked, sexually assaulted, or mistreated in some other way by police.
                                      • Those who have done income-based sex work were also more likely to have
                                        experienced violence. More than three-quarters (77%) have experienced intimate partner
                                        violence and 72% have been sexually assaulted, a substantially higher rate than the
                                        overall sample. Out of those who were working in the underground economy at the time
                                        they took the survey, nearly half (41%) were physically attacked in the past year and over
                                        one-third (36%) were sexually assaulted during that year.




                                      Police Interactions and Prisons
                                      • Respondents experienced high levels of mistreatment and harassment by police. In
                                        the past year, of respondents who interacted with police or law enforcement officers who
                                        thought or knew they were transgender, more than half (58%) experienced some form of
                                        mistreatment. This included being verbally harassed, repeatedly referred to as the wrong
                                        gender, physically assaulted, or sexually assaulted, including being forced by officers to
                                        engage in sexual activity to avoid arrest.
                                      • Police frequently assumed that respondents—particularly transgender women of color—
                                        were sex workers. In the past year, of those who interacted with law enforcement officers
                                        who thought or knew they were transgender, one-third (33%) of Black transgender women
                                        and 30% of multiracial women said that an officer assumed they were sex workers.
2015 U.S. TRANSGENDER SURVEY




                                      • More than half (57%) of respondents said they would feel uncomfortable asking the
                                        police for help if they needed it.
                                      • Of those who were arrested in the past year (2%), nearly one-quarter (22%) believed they
                                        were arrested because they were transgender.




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                               KE Y FI N D I N GS

                                                          Eleven percent (11%) of respondents had their preferred name and gender on all IDs
                                                          and records, while 68% reported that none of their IDs had the name and gender they
                                                          preferred.

                                                          Forty-nine percent (49%) did not have an ID or record with the name they preferred, and
                                                          67% did not have an ID or record with the gender they preferred.

                                                          Thirty percent (30%) of respondents completed a legal name change.

                                                          Thirty-four percent (34%) of people who were granted a legal name change reported
                                                          that they had spent over $250, and 11% spent over $500.

                                                          Thirty-five percent (35%) of those who did not try to change their legal name did not try
                                                          because they could not afford it.

                                                          Of those who wanted to update their driver’s license or state ID, an estimated 44% were
                                                          able to change their name on the license and an estimated 29% were able to change
                                                          their gender.

                                                          Of those who wanted to change the gender on their birth certificate, only an estimated
                                                          9% were able to do so.

                                                          As a result of showing an ID with a name or gender that did not match their gender
                                                          presentation, 25% of people were verbally harassed, 16% were denied services or
                                                          benefits, 9% were asked to leave a location or establishment, and 2% were assaulted or
                                                          attacked.




                                                    I. Access to Legal                                     asked a series of questions about factors in their
                                                                                                           decision to legally change their name and their
                                                    Name Changes                                           access to a legal name change.

                                                    Changing a name is a step in the transition process    Approximately one-third (36%) of respondents
                                                    for some, but not all, transgender people. A legal     have tried to obtain a legal name change, and
                                                                                                           30% were able to do so. This rate varied greatly
2015 U.S. TRANSGENDER SURVEY




                                                    name change order is almost always required
                                                    to update the name listed on many forms of             according to gender identity, where transgender
                                                    official IDs and records, such as driver’s licenses,   men and women (51%) were almost five times
                                                    passports, and Social Security cards.4 Legal name      as likely to have tried or completed the name
                                                    changes typically happen through a court order,        change process as non-binary people (11%). A vast
                                                    and the process for obtaining a court order varies     majority (96%) of respondents who underwent the
                                                    in each state and territory. Respondents were          process did so through a court order, less than 1%




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Nearly one-third (32%) of                                          III. Experiences
respondents who did not                                            When Presenting
have their preferred gender                                        Incongruent Identity
on any of their IDs or records                                     Documents
reported that they could not                                       Respondents were asked about their experiences
afford to change them.                                             when they have shown an ID with a name or
                                                                   gender that did not match the gender in which
Those who said that none of the IDs reflected                      they present. Overall, nearly one-third (32%) of
the preferred gender were asked why that was                       individuals who have shown IDs with a name
the case. Twenty-five percent (25%) of these                       or gender that did not match their presentation
respondents believed they were not allowed to                      reported negative experiences, such as being
change the gender on their IDs or records, for                     harassed, denied services, and/or attacked.
reasons such as not having undergone medical
                                                                   One-quarter (25%) of these respondents reported
treatment needed to change their gender on an
                                                                   being verbally harassed. Middle Eastern (44%)
ID or not having a doctor’s letter. Nearly one-third
                                                                   and American Indian (39%) respondents reported
(32%) of respondents indicated that none of their
                                                                   experiencing this more often than other racial or
IDs or records had the gender they preferred
                                                                   ethnic groups (Figure 6.6).
because they could not afford it. Eighty-eight
                                                                   Figure 6.6: Verbally harassed when using an ID with a
percent (88%) of non-binary individuals who
                                                                   name or gender that did not match their presentation
indicated that none of their IDs or records had                    RACE/ETHNICITY (%)
the gender they preferred reported that it was                     50%
because the available gender options (male or                      45%                                                       44%
female) did not fit their gender identity, in contrast             40%                  39%

to 4% of transgender men and women (Table 6.4).                    35%                                                                    33%
                                                                   30%
                                                                                                       26%        27%
Table 6.4: Reasons for not changing gender on IDs or               25%    25%                   24%                                                 24%
records
                                                                   20%
 Reasons for not changing            % of those who reported       15%
 gender                              having no IDs/records with    10%
                                     the gender they preferred      5%
 They have not tried yet                                     44%    0%
 The available gender options                                41%
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 They could not afford it                                    32%
 They were not ready                                         30%
 They did not know how                                       26%   Sixteen percent (16%) of people who showed IDs
 They believed they were not                                 25%   with a name or gender that did not match the
 allowed
                                                                                                                                                          IDENTITY DOCUMENTS




                                                                   gender they present in were denied services or
 They worried that they might lose                           25%
 benefits or services                                              benefits. Transgender men and women were more
 They worried that changing                                  25%   likely to have been denied services or benefits
 gender would out them
                                                                   (20%) compared to non-binary respondents (10%).
 Their request was denied                                     1%
 A reason not listed                                         10%




                                                                                                                                                          89
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                               Nearly one-third (32%) of                                                                 Conclusion
                               individuals who have shown                                                                Findings indicate that respondents encountered
                               IDs that did not match                                                                    substantial issues related to obtaining IDs and
                                                                                                                         records that reflect their gender identity, including
                               their presentation reported                                                               financial, procedural, and eligibility barriers.
                                                                                                                         The data suggests that the cost of a legal name
                               negative experiences, such                                                                change presents a considerable challenge to
                               as being harassed, denied                                                                 getting a preferred name on identity documents.
                                                                                                                         Results also indicate that the cost of updating
                               services, and/or attacked.                                                                gender markers and procedural requirements
                               Nine percent (9%) of people who showed an                                                 (such as providing documentation of certain
                               incongruent ID were asked to leave. Transgender                                           medical procedures) are among the main barriers
                               women were more likely to have been asked                                                 preventing respondents from updating the gender
                               to leave after presenting incongruent IDs (13%),                                          on their IDs and records. Further, results suggest
                               compared to transgender men (9%) and non-binary                                           that respondents who presented IDs that did
                               people (6%).                                                                              not correspond with the gender they presented
                                                                                                                         in were put at risk of harassment, assault, and
                               Two percent (2%) of people who showed IDs with                                            other forms of negative treatment. Overall, these
                               a name and gender that did not match the gender                                           findings illustrate a variety of difficulties that arise
                               they present in were assaulted or attacked. These                                         during the name and gender change process and
                               experiences differed by race and ethnicity. Middle                                        emphasize the importance of access to accurate
                               Eastern respondents were almost five times as                                             identity documentation for the safety and well-
                               likely (9%) to report experiencing this, American                                         being of transgender people.
                               Indians were three times as likely (6%), and Black
                               respondents were twice as likely (4%) (Figure 6.7).
                               Undocumented residents were also substantially
                               more likely to report being assaulted or attacked
                               (15%), in contrast to documented residents (3%)
                               and citizens (2%).

                               Figure 6.7: Assaulted or attacked when using an
                               ID with a name or gender that did not match their
                               presentation
                               RACE/ETHNICITY (%)
                               10%
                                                                                              9%
                                9%
                                8%
2015 U.S. TRANSGENDER SURVEY




                                7%
                                                      6%
                                6%
                                5%
                                                                        4%
                                4%
                                                              3%                                           3%
                                3%
                                        2%                                          2%                              2%
                                2%
                                 1%
                                0%
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Figure 7.10: Any surgery for gender transition                                          more likely to have had any of the procedures than
INDIVIDUAL INCOME (%)
                                                                                        non-binary respondents who had female on their
50%
45%                                                                     43%     43%     original birth certificate (Figure 7.13).
40%                                                               36%
35%                                                                                     Table 7.4: Procedures among respondents with female
30%                                                                                     on their original birth certificate
           25%                                     24%
25%
                                                                                                                                       Want it            Not sure               Do not
20%                                                                                      Type of                   Have                some               if they                want
                                        15%
 15%                    12%                                                              procedure                 had it              day                want this              this
10%                                                                                      Chest surgery
  5%                                                                                     reduction or                          21%             52%                    17%                 10%
                                                                                         reconstruction
  0%
                                                                                         Hysterectomy                            8%               44%                 28%                     19%
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                                                                                         Metoidioplasty                          1%               15%                 37%                     47%
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                                            $5 99


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                                              $1
                                                                                         Phalloplasty                            1%               11%                     31%             56%
                               to
              No




                                            $1
                            $1




                                                                                         Other procedure
                                                                                                                                 3%               7%                      13%                 77%
                                                                                         not listed
Figure 7.11: Any surgery for gender transition
INSURANCE TYPE (%)
50%
45%                                                 44%                                 Figure 7.12: Procedures among transgender men
40%                                                                                      Chest surgery
                                                                                          reduction or                  36%                                         61%                         3%
35%                                                                             32%     reconstruction
30%
           25%                                                    25%                   Hysterectomy        14%                          57%                                     23%           6%
25%                                  22%                                22%
20%                     18%
                                                                                        Metoidioplasty 2%          25%                                  49%                             24%
 15%
10%
                                                                                          Phalloplasty 3%         19%                       43%                                   35%
  5%
  0%                                                                                            Other
                                                                                            procedure 6%          13%            19%                                 62%
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                                                                                                                              Have had it
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                                                                                                                              Want it some day
                                                                                                                              Not sure if they want this
Respondents were asked a series of questions
                                                                                                                              Do not want this
about whether they had received or wanted to
have specific surgical and other procedures.
Respondents received different questions based                                          Figure 7.13: Procedures among non-binary respondents
                                                                                        with female on their original birth certificate
on the sex that they reported was listed on their
                                                                                        Chest surgery
original birth certificate.16                                                             reduction or 6%
                                                                                        reconstruction
                                                                                                                               42%                            31%                       21%




                                                                                        Hysterectomy 2%                 30%                       35%                            33%

i. Experiences of Respondents With
Female on Their Original Birth Certificate                                              Metoidioplasty 4%           24%                                   72%



Of respondents who had female on their original                                           Phalloplasty 2%         19%                                   79%

birth certificates, 21% had a chest reduction or
                                                                                                Other
                                                                                            procedure 2%3% 8%                                       87%
reconstruction17 and 8% had a hysterectomy.18 Only                                           not listed

2% reported having any genital surgery, such as                                                      0%                  20%            40%               60%                   80%            100%

metoidioplasty19 (1%) or phalloplasty20 (1%) (Table                                                                           Have had it

7.4). These experiences differed greatly by gender                                                                            Want it some day
                                                                                                                                                                                                      HEALTH




                                                                                                                              Not sure if they want this
identity, with transgender men (Figure 7.12) being
                                                                                                                              Do not want this



                                                                                                                                                                                                      101
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                               KE Y FI N D I N GS

                                                           Nearly half (48%) of all respondents in the sample reported being denied equal
                                                           treatment, verbally harassed, and/or physically attacked in the past year because of
                                                           being transgender.
                                                          • One in seven (14%) respondents reported that they were denied equal treatment or
                                                            service in a public place in the past year because of being transgender.
                                                          • Nearly half (46%) of respondents reported that they were verbally harassed in the
                                                            past year because of being transgender.
                                                          • Nearly one in ten (9%) respondents reported that they were physically attacked in the
                                                            past year because of being transgender.


                                                           Nearly half (47%) of respondents have been sexually assaulted at some point in their
                                                           lifetime.


                                                           One in ten (10%) respondents in the survey were sexually assaulted in the past year.


                                                           More than half (54%) of respondents experienced some form of intimate partner
                                                           violence.
                                                          • More than one-third (35%) experienced physical violence by an intimate partner,
                                                            compared to 30% of the U.S. adult population. Nearly one-quarter (24%) experienced
                                                            severe physical violence by a current or former partner, compared with 18% of the
                                                            U.S. population.




                                                    I. Overall Experiences                                 examining denial of equal treatment, verbal
                                                                                                           harassment, and physical attacks in greater detail.
                                                    of Unequal Treatment,                                  Fifty-eight percent (58%) of respondents said that
                                                    Harassment, and                                        they were denied equal treatment or service,
                                                                                                           verbally harassed, and/or physically attacked in the
                                                    Physical Attack                                        past year for any reason. Respondents who were
                                                                                                           currently working in the underground economy,
                                                    Respondents were asked if they had been denied
                                                                                                           such as sex work, drug sales, or other work that
                                                    equal treatment or service, verbally harassed, or
                                                                                                           is currently criminalized (82%), and people with
                                                    physically attacked in the past year for any reason,
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                                                                                                           disabilities7 (69%) were more likely to report one
                                                    regardless of whether it happened because they
                                                                                                           or more of these experiences. Middle Eastern
                                                    were transgender. This section of the chapter will
                                                                                                           (70%), multiracial (70%), and American Indian (69%)
                                                    examine respondents’ overall experiences in the
                                                                                                           respondents were also more likely to report one or
                                                    past year, and is followed by separate sections
                                                                                                           more of these experiences (Figure 15.1).




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